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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
No. 1:23-CR-00078-RJJ

Plaintiff,
v.
SEANN PATRICK PIETILA, Hon. Robert J. Jonker
U.S. District Judge
Defendant.
/
PLEA AGREEMENT

This constitutes the plea agreement between Seann Patrick Pietila and the
United States Attorney’s Office for the Western District of Michigan. The terms of
the agreement are as follows:

1. Defendant Agrees to Plead Guilty. Defendant agrees to plead guilty to

Count 2 of the Indictment. Count 2 charges Defendant with transmitting a
threatening communication in interstate or foreign commerce in violation of Title
18, United States Code, Section 875(c).

2 Defendant Understands the Crime. In order for Defendant to be guilty
of violating Title 18, United States Code, Section 875(c), the following must be true:
(1) Defendant transmitted in interstate or foreign commerce a communication; (2)
the communication contained a threat to injure a person or group of people; and (8)
Defendant transmitted the communication: (a) for the purpose of making a threat to
injure; or (b) knowing that the communication would be viewed as a threat to

injure; or (c) recklessly, that is, with conscious disregard of a substantial risk that
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the communication would be viewed as a threat to injure. Defendant is pleading
guilty because he is guilty of the charge described above.

3. Defendant Understands the Penalty. The statutory maximum

sentence that the Court can impose for a violation of Title 18, United States Code,
Section 875(c), is the following: five years of imprisonment; a three-year period of
supervised release; a fine of $250,000; and a mandatory special assessment of $100.

A. Supervised Release Defined. Supervised release is a period of time

following imprisonment during which Defendant will be subject to various
restrictions and requirements. Defendant understands that if he violates one or
- more of the conditions of any supervised release imposed, he may be returned to
prison for all or part of the term of supervised release, which could result in
Defendant serving a total term of imprisonment greater than the statutory
maximum stated above.

5. Factual Basis of Guilt. Defendant and the U.S. Attorney’s Office agree

and stipulate to the following statement of facts which need not be proven at the
time of the plea or sentencing:

On or about June 1 and 2, 2023, Defendant transmitted communications
containing a threat to kill or injure the person of another. He transmitted those
threatening communications to another individual using an Instagram application
on a cellular telephone-he possessed in Ingham County, Michigan. Specifically, on
June 1, 2023, Defendant communicated to another individual a desire and plan to

kill or injure Jewish people and use a camera to stream his attack over the Internet
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using an application that would allow others to record it and send it to others or
post it online. On June 2, 2023, Defendant communicated to another individual a
desire and plan to kill or injure Jewish people using firearms, knives, machetes,
axes, and napalm. When Defendant sent those messages, he knew that his
statements communicated a threat to kill or injure another person and that a
reasonable observer would view his messages as threats to kill or injure another
person.

Meta Platforms, Inc., which is headquartered in California, owns and
operates Instagram, a social media application. Meta Platforms, Inc. and
Instagram engage in interstate and foreign commerce and maintain datacenters in

multiple states and foreign countries to supply its products inside and outside of the

United States.

6. Dismissal of Other Counta/Chareea, The U.S. Attorney’s Office agrees
to move to dismiss the remaining counts of the Indictment against Defendant at the
time of sentencing. Defendant agrees, however, that in determining the sentence
the Court may consider the dismissed counts in determining the applicable
Sentencing Guidelines range, where the sentence should fall within the applicable
guidelines range, and the propriety of any departure from the calculated guidelines
range. By this agreement, Defendant does not concede that an increased sentence
or an upward departure is, in fact, warranted.

7. Acceptance of Responsibility. The U.S. Attorney’s Office agrees not to

oppose Defendant’s request for a two-level reduction of his offense level for
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acceptance of responsibility under Section 8E1.1(a) of the Sentencing Guidelines.
However, the U.S. Attorney’s Office reserves the right to object to Defendant’s
request if it subsequently learns of conduct by Defendant that is inconsistent with
the criteria set forth in the Commentary to Section 3E1.1. Should the Court grant
a two-level reduction as provided herein, the Government will move the Court to

grant an additional one-level reduction if the adjusted offense level is 16 or greater
pursuant to Section 3E1.1(b).

8. Prison Placement. The U.S. Attorney’s Office will not object to a

request by Defendant that the Court recommend that Defendant be confined at any
particular institution. Both parties acknowledge that the Bureau of Prisons, in its
sole discretion, decides prison placement and that, while the Bureau often gives
deference to a Court’s recommendation, the Bureau is not required to follow the
Court’s recommendation.

9. The Sentencing Guidelines. Defendant understands that, although the

United States Sentencing Guidelines (the “Guidelines”) are not mandatory, the
Court must consult the Guidelines and take them into account when sentencing
Defendant. Defendant understands that the Court, with the aid of the presentence
report, will determine the facts and calculations relevant to sentencing. Defendant
understands that Defendant and Defendant’s attorney will have the opportunity to
review the presentence report and to make objections, suggestions, and
recommendations concerning the calculation of the Guideline range and the

sentence to be imposed. Defendant further understands that the Court shall make
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the final determination of the Guideline range that applies in this case, and may
impose a sentence within, above, or below the Guideline range, subject to the
statutory maximum penalties described elsewhere in this Agreement. Defendant
further understands that disagreement with the Guideline range or sentence shall
not constitute a basis for withdrawal of the plea.

10. Waiver of Constitutional Rights.. By pleading guilty, Defendant gives
up the right to persist in a plea of not guilty and the right to a speedy and public
trial by jury or by the Court. As a result of Defendant’s guilty plea, there will be no
trial. At any trial, whether by jury or by the Court, Defendant would have had the
following rights:

a. The right to the assistance of counsel, including, if Defendant
could not afford an attorney, the right to have the Court appoint an attorney to
represent Defendant.

b. The right to be presumed innocent and to have the burden of
proof placed on the Government to prove Defendant guilty beyond a reasonable
doubt.

c. The right to confront and cross-examine witnesses against
Defendant.

d. The right, if Defendant wished, to testify on Defendant’s own
behalf and present evidence in opposition to the charges, including the right to call

witnesses and to subpoena those witnesses to testify.
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e@. The right not to be compelled to testify, and, if Defendant chose
not to testify or present evidence, to have that choice not be used against
Defendant.

f. By pleading guilty, Defendant also gives up any and all rights to
pursue in this Court or on appeal any affirmative defenses, Fourth Amendment or

Fifth Amendment claims, and other pretrial motions that have been filed or could

be filed.

11. FOIA Requests. Defendant hereby waives all rights, whether asserted

directly or by a representative, to request or receive from any department or agency
of the United States any records pertaining to the investigation or prosecution of
this case, including without limitation any records that may be sought under the
Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. §

552a.

12. The Court is not a Party to this Agreement. Defendant understands

that the Court is not a party to this agreement and is under no obligation to accept
any recommendation by the U.S. Attorney’s Office or the parties regarding the
sentence to be imposed. Defendant further understands that, even if the Court
ignores such a recommendation or imposes any sentence up to the maximum
established by statute, Defendant cannot, for that reason, withdraw his guilty plea,
and he will remain bound to fulfill all of his obligations under this agreement.

Defendant understands that no one—not the prosecutor, Defendant’s attorney, or
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the Court—can make a binding prediction or promise regarding the sentence
Defendant will receive, except that it will be within the statutory maximum.

18. This Agreement is Limited to the Parties. This agreement is limited to

the U.S. Attorney’s Office for the Western District of Michigan, and cannot bind any
other federal, state or local prosecuting, administrative or regulatory authority.
This agreement applies only to crimes committed by Defendant. This agreement
does not apply to or preclude any past, present, or future forfeiture or civil actions.

14. Consequences of Breach. If Defendant breaches any provision of this

agreement, including any promise of cooperation, whether before or after
sentencing, the United States shall have the right to terminate this agreement, or
deny any or all benefits to which Defendant would otherwise be entitled under the
terms of this agreement. If the United States elects to terminate this agreement,
the agreement shall be considered null and void, and the parties shall return to the
same position they were in prior to the execution of this agreement, as though no
agreement ever existed. In such an event, Defendant shall remain liable for
prosecution on all original charges, and the United States shall be free to bring such
additional charges as the law and facts warrant. Defendant further agrees to waive
and forever give up his right to raise any claim that such a prosecution is time-
barred if the prosecution is brought within one (1) year of the breach that gives rise
to the termination of this agreement.

15. This isthe Complete Agreement. This agreement has been entered

into by both sides freely, knowingly, and voluntarily, and it incorporates the
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complete understanding between the parties. No other promises have been made,
nor may any additional agreements, understandings or conditions be entered into

unless in a writing signed by all parties or on the record in open court.

16. Deadline for Acceptance of Agreement. If a copy of this agreement,
executed by Defendant and defense counsel, is not returned to the U.S. Attorney’s
Office by October 27, 2028, this agreement will be withdrawn automatically and
will thereafter have no legal effect or force, unless the U.S. Attorney’s Office, in its

sole discretion, chooses to accept an executed agreement after that date.
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Plea Agreement Signature Page

MARK A. TOTTEN
United States Attorney

10/30f/202>

Date

RISTOPHER M. O’>CONNOR
Assistant United States Attorney

I have read this agreement and carefully discussed every part of it with my
attorneys. I understand the terms of this agreement, and I voluntarily agree to
those terms. My attorneys have advised me of my rights, of possible defenses, of the
sentencing provisions, and of the consequences of entering into this agreement. No
promises or inducements have been made to me other than those contained in this
agreement. No one has threatened or forced me in any way to enter into this
agreement. Finally, I am satisfied with the representation of my attorneys in this
matter.

10/d-1/a3 Seann Pretilor
Date SEANN PATRICK PIETILA
Defendant

We are Seann Patrick Pietila’s attorneys. We have carefully discussed every
part of this agreement with our client. Further, we have fully advised our client of
his rights, of possible defenses, of the sentencing provisions, and of the
consequences of entering into this agreement. To our knowledge, our client’s
decision to enter into this agreement is an ‘Ci voluntary one.

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Date BETH A. LACOSSE
SEAN R. TILTON
Attorneys for Defendant

